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  1200/18-7152.S/kmc/bja

                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  WILLIAM BARNHOUSE,                                 )
                Plaintiff,                           )
                v.                                   ) Cause No.: 1:19-CV-00958-TWP-DLP
                                                     )
  CITY OF MUNCIE, FONDA KING, STEVE                  )
  STEWART, GORDON WATTERS, OFFICER                   )
  TODD, STEVE BLEVINS, DONALD                        )
  BAILEY, TERRY WINTERS, CARL                        )
  SOBIERALSKI, AS-YET UNIDENTIFIED                   )
  MUNCIE POLICE OFFICERS, and AS-YET                 )
  UNIDENTIFIED EMPLOYEES OF THE                      )
  INDIANA STATE POLICE CRIME LAB,                    )
                   Defendants.                       )

           DEFENDANTS, CITY OF MUNCIE, FONDA KING, STEVE
       STEWART, GORDON WATTERS, OFFICER TODD, STEVE BLEVINS,
     DONALD BAILEY, AND TERRY WINTERS’ PARTIAL MOTION TO DISMISS

        COMES NOW, the Defendants, CITY OF MUNCIE, FONDA KING, STEVE

 STEWART, GORDON WATTERS, OFFICER TODD, STEVE BLEVINS, DONALD BAILEY

 and TERRY WINTERS, by and through their attorneys, KATLYN M. CHRISTMAN (#34670-

 64) and ELIZABETH A. KNIGHT (#11865-45) of KNIGHT, HOPPE, KURNIK & KNIGHT,

 LTD., and respectfully move this Court, pursuant to Federal Rule of Civil Procedure 12(b)(6), to

 grant these Defendants’ Partial Motion to Dismiss. In support thereof, these Defendants state as

 follows:

        1.      On March 7, 2019, Plaintiff filed his Complaint against the above-named

 Defendants arising out of his conviction, the Court vacating the conviction, and the dismissal of

 the cause of action. [DE #1].




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        2.      A plaintiff must plead sufficient factual matter that, if accepted as true, will state a

 claim for “relief that is plausible on its face” under Federal Rule of Civil Procedure 8. Ashcroft v.

 Iqbal, 556 U.S. 662, 678 (2009).

        3.      If a complaint fails to state a claim upon which relief may be granted it will be

 dismissed. Fed. R. Civ. P. 12(b)(6).

        4.      “Threadbare recitals of the elements of a cause of action, supported by mere

 conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678.

        5.      Count I of the Complaint fails to state a claim as to Defendant Officers King,

 Stewart, Watters, Todd, and Blevins because of the absence of any allegations establishing

 personal involvement of these Defendants in the alleged fabrication of evidence.

        6.      Plaintiff fails to state a claim as to Count II of the Complaint because exculpatory

 evidence was not concealed from Plaintiff and the duty to disclose the identification procedure

 used was not clearly established such that the Defendant Officers are entitled to qualified

 immunity.

        7.      Count III fails to state claim because a malicious prosecution claim is not

 cognizable under Section 1983 and the right to be free from prosecution without probable cause

 was not clearly established and the Defendant Officers are entitled to qualified immunity.

        8.      Plaintiff fails to state a claim of liberty deprivation without probable cause in Count

 IV because such claim is time-barred, probable cause existed so as to defeat this claim, and the

 Defendant Officers are otherwise entitled to qualified immunity.

        9.      Count VI fails to state a claim of failure to intervene because Plaintiff does not

 allege any facts that could plausibly suggest that there was a realistic opportunity to intervene and

 the Defendant Officers are otherwise entitled to qualified immunity.



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        10.     Plaintiff fails to state a claim as to Count VII because threadbare recitals of the

 cause of action are not sufficient to state a claim under Monell.

        11.     Count VIII fails to state a claim because vicarious liability is not cognizable under

 the Rehabilitation Act.

        12.     The Defendant Officers cannot be held liable in their individual capacities for

 Plaintiff’s state law claims asserted in Counts IX, X, and XII because Plaintiff alleges that their

 actions took place within the scope of their employment.

        13.     Plaintiff’s state law claims in Counts IX through XIII are barred under the Indiana

 Tort Claims Act or because of the Court’s lack of subject matter jurisdiction.

        WHEREFORE, for the foregoing reasons, and the reasons set forth in DEFENDANTS,

 CITY OF MUNCIE, FONDA KING, STEVE STEWART, GORDON WATTERS, OFFICER

 TODD, STEVE BLEVINS, DONALD BAILEY, AND TERRY WINTERS’ Memorandum of

 Law contemporaneously filed within, these Defendants respectfully request that this Court grant

 their Partial Motion to Dismiss and/or for any other relief deemed just and proper in the premises.

                                               Respectfully submitted,

                                               /s/ Katlyn M. Christman
                                               KATLYN M. CHRISTMAN (#34670-64)

                                               /s/ Elizabeth A. Knight
                                               ELIZABETH A. KNIGHT (#11865-45)

 KNIGHT, HOPPE, KURNIK & KNIGHT, LTD.
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                                CERTIFICATE OF SERVICE
 I hereby certify that on June 10, 2019, the foregoing DEFENDANTS, CITY OF MUNCIE,
 FONDA KING, STEVE STEWART, GORDON WATTERS, OFFICER TODD, STEVE
 BLEVINS, DONALD BAILEY, AND TERRY WINTERS’ PARTIAL MOTION TO
 DISMISS was electronically filed with the Clerk of the Court using the CM/ECF system, which
 will send notification of such filing to the following CM/ECF participants:

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 Manual Notice:
 None.

                                           /s/ Katlyn M. Christman

                                           /s/ Elizabeth A. Knight
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